          Case
           Case1:21-cv-01257-UNA
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                          District
                                                    __________     of Delaware
                                                               District of __________

                    SOLAR PASTE, LLC,                                   )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                              Civil Action No.
                                                                        )
CHANGZHOU FUSION NEW MATERIAL CO., LTD.,                                )
 RISEN SOLAR CO., LTD. and RISEN ENERGY                                 )
             AMERICA, INC.,                                             )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Risen Energy America, Inc.
                                           c/o Harvard Business Services, Inc.
                                           16192 Coastal Highway
                                           Lewes, DE 19958




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Kaan Ekiner
                                           Cozen O'Connor
                                           1201 North Market Street
                                           Suite 1001
                                           Wilmington, DE 19801


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                   CLERK OF COURT

                                                                                   V-RKQ$&HULQR
Date:
                                                                                             Signature of Clerk or Deputy Clerk
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